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                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA




 SECURITIES AND EXCHANGE
 COMMISSION,
                                                   Civil Action No.:
 Plaintiff,

                       v.

 JAMES O. WARD, JR.,                               JURY DEMAND

 Defendant.


                                   COMPLAINT

      Plaintiff, the United States Securities and Exchange Commission (“Plaintiff”,

“Commission”, or “SEC”), alleges the following:

                                    OVERVIEW

      1.      Between at least March and September 2021, James O. Ward, Jr.

(“Ward” or “Defendant”) participated in the offer and sale of at least $852,000 in

securities issued by Apex Financial Institute Pvt. Ltd. (“Apex”), a private fund, to at

least 70 investors.

      2.      In offering and selling these securities, Ward promoted Apex as an

actual hedge fund, and falsely claimed, among other things, that Apex: (i) was

regulated by the SEC; (ii) had $25 million in assets under management; (iii) had


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successfully conducted a 12-month beta test of its trading strategies; (iv) employed

trading strategies that offered investors the opportunity to experience substantial

gains without any risk of loss; and (v) had several international offices.

      3.     In reality, Apex was never an SEC-regulated entity, did not exist prior

to February 2021, had no assets under management and had not conducted any

testing of its investment strategies before receiving investor funds, did not have

trading strategies that protected investors from losses, and operated entirely from

Ward’s and his partners’ home computers.

      4.     Moreover, a key component of Ward’s sales pitch was the “Apex

Financial Token,” which Ward falsely claimed was pegged to the U.S. dollar. In

fact, there was no token.

      5.     Ward also touted his own credibility and integrity, telling prospective

investors that he would never be involved in an illegitimate enterprise. Yet he failed

to disclose that he previously had engaged in a $20 million Ponzi scheme and

directed accomplices to destroy documents after receiving a subpoena from the

Federal Trade Commission (“FTC”) relating to that Ponzi scheme.

      6.     Apex invested the majority of investor proceeds in third-party funds.

From the outset, these investments sustained substantial losses.

      7.     In or around September 2021, Apex stopped accepting investments and

subsequently began to wind down its operations.

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        8.    In connection with that shut down, Ward’s two Apex partners used

their personal funds to help repay investors.

                                     VIOLATIONS

        9.    Defendant has engaged in acts or practices that violated Sections

17(a)(1) and (3) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C.

§§ 77q(a)(1) and (3)] and Section 10(b) of the Securities Exchange Act of 1934 [15

U.S.C. §78j(b)] (“Exchange Act”) and Rule 10b-5 thereunder [17 C.F.R §240.10b-

5].

        10.   Unless restrained and enjoined by this Court, Defendant will continue

to engage in acts and practices that violate this provision.

                            JURISDICTION AND VENUE

        11.   The Commission brings this action pursuant to Sections 20 and 22 of the

Securities Act [15 U.S.C. §§ 77t and 77v] and Sections 21(d) and 21(e) of the

Exchange Act [15 U.S.C. §§ 78u(d) and 78u(e)] to enjoin Defendant from engaging in

the transactions, acts, practices, and courses of business alleged in this complaint, and

transactions, acts, practices, and courses of business of similar purport and object, for

civil penalties, and for other equitable relief.

        12.   This Court has jurisdiction over this action pursuant to Section 22 of the

Securities Act [15 U.S.C. § 77v], Sections 21(d), 21(e), and 27 of the Exchange Act

[15 U.S.C. §§ 78u(d), 78u(e), and 78aa], and 28 U.S.C. § 1331.

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      13.    Defendant, directly and indirectly, made use of the mails, and the means

and instrumentalities of interstate commerce in connection with the transactions, acts,

practices, and courses of business alleged in this complaint.

      14.    Venue is proper in this Court because Defendant resides in the Southern

District of Alabama.

            THE DEFENDANT AND OTHER RELEVANT PARTY

      15.    James O. Ward, Jr., age 47, is a resident of Foley, Alabama. Ward has

no disciplinary history with the Commission.

      16.    In a consent order entered with the Commodity Futures Trading

Commission (“CFTC”) in March 2022, Ward admitted that, between at least May

2017 and August 2017, he engaged in a Ponzi scheme in which he used a website to

solicit over $20 million of investments. Ward also later advised a colleague to

destroy evidence in response to a subpoena from the FTC relating to the Ponzi

scheme.

      17.    Apex Financial Institute Pvt. Ltd. was a private fund formed by Ward

and two other individuals in February 2021. Apex was formed as a British Virgin

Islands entity.

      18.    Ward was responsible for marketing Apex to potential investors,

including by making investor presentations. His two other partners handled Apex’s

administrative functions, such as recording transactions, executing money flows,


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and technology and systems design.

      19.    According to a Form D signed by Ward and filed with the Commission

in March 2021, Apex planned to offer “Pooled Investment Fund Interests.”

      20.    Apex received at least $852,000 worth of crypto assets (valued at the

time of transfer to Apex) in 2021, but has been defunct since 2022 and currently has

no assets.

                           The Apex Securities Offering

      21.    Apex began accepting investments in March 2021, and it operated for

only approximately six months before winding down. During this time, Apex raised

at least $852,000 worth of crypto assets (valued at the time of investment) from

approximately 70 investors in the United States and abroad.

      22.    Apex investors did not enter into subscription agreements or similar

documents, and did not receive limited partnership interests, membership interests,

or other indicia of investments typically associated with private funds.

      23.    Rather, to invest with Apex, each investor created an account on

Apex’s website and received a unique crypto asset address to which they sent crypto

assets as part of their investment with Apex. Once received by Apex, investments

were credited to investors’ accounts in the U.S. dollar value equivalent to the value

of the crypto asset at the time of investment, and investors’ account balances were




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displayed in U.S. dollars.

      24.    Once they invested with Apex, investors could choose to allocate their

investments into three different trading strategies, in which investments would be

pooled and managed by Apex. Each trading strategy had a corresponding lock-up

period of 90, 180, or 365 days, with purported increasing potential daily returns

based on the selected strategy and lock-up period.

      25.    Investors relied completely on Apex to make investment decisions

within each strategy. Internally, investment decisions were managed primarily by

Ward’s two partners.

      26.    Apex did not receive any up-front fees, nor did it charge management

fees. Rather, Apex was to receive 30% of investor profits.

  Ward’s Fraudulent Misrepresentations and Omissions to Entice Investors

      27.    Ward’s primary responsibility for Apex was soliciting investors.

      28.    To that end, Ward live-streamed several Apex investor presentations,

and then posted the videos on YouTube and made them publicly available.

      29.    Ward’s presentations were replete with material misrepresentations and

materially misleading omissions concerning, among other things, Apex and its

history, the nature of investments in Apex, and historical returns achieved by Apex.

      30.    For example, in videos made available to potential investors in March

and April 2021, Ward promoted Apex as “an actual hedge fund” and falsely


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represented that Apex had offices “getting started in Dubai and Cyprus, [and] we’ll

also have one in Sweden.”

      31.    In reality, while Apex hoped to open offices at some point, it never had

any offices; rather, it was run remotely out of the homes of its three principals.

      32.    In the March and April 2021 videos, Ward also claimed that Apex was

“regulated, actually regulated by the SEC,” and added “when is the last time you

heard someone come out and say that on a call like this? I would say probably

never.”

      33.    In fact, Apex was never a Commission-regulated entity and, other than

filing a Form D, Apex never interacted with the Commission or its staff.

      34.    In the March and April 2021 videos, Ward used a PowerPoint

presentation that also claimed, “In 2020, even during the pandemic, and in

up/down/sideways markets, Apex’s staking strategies outperformed the market.”

      35.    In reality, Apex did not exist in 2020 and conducted no trading in 2020.

      36.    Apex’s claimed 2020 success was based on purported returns

represented to Apex by one or more of the third-party funds in which it intended to

invest Apex’s offering proceeds.

      37.    In the March and April 2021 videos, Ward also touted that Apex had

successfully conducted a 12-month “beta test” with “over $25 million under

management.”


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      38.    In reality, Apex did not exist prior to February 2021, had only been

operational for one month at the time, had no assets under management prior to

taking on investor funds, never had even $2.5 million—let alone $25 million—in

assets under management, and never conducted a beta test.

      39.    Again, the claimed “beta test” related to purported returns experienced

by one of the third-party funds in which Apex intended to invest offering proceeds.

      40.    In the March and April 2021 videos, Ward further claimed that Apex

had developed trading strategies in crypto assets, commodities, real estate, and other

assets that eliminated any risk of loss for investors.

      41.    Among other things, Ward represented that:

             •      Investors “get to participate in the upside without that downside
                    potential.”

             •      “Someone puts in $10,000 into Apex, and as it steadily grows, it
                    may have some up days, it may have some zero days, but you’re
                    never going to look at your account and it’s going to be under
                    that $10,000 mark.”; and

             •      “What makes Apex so special and what really protects us against
                    those down days . . . you remember me telling you there’s no
                    down days . . . the way that that protection takes place is through
                    the aggregation and the allocation of the assets that we have
                    inside of this platform . . . . We work with the best of the best to
                    be able to create this and our asset allocation, the way that we
                    aggregate these funds as they come in, is what not only creates
                    that upside potential that you saw, right, on the ROI, but it also
                    protects you from the downside. You have to truly understand
                    how powerful this is.”



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      42.      In reality, Apex had not developed any particular asset-allocation or

aggregation models or trading strategies, let alone strategies that protected investors

from losses.

      43.      In addition to these misrepresentations, one of the claimed hallmarks of

Apex’s structure, at least as initially pitched to investors by Ward, was the Apex

Financial Token, or AFT, which Ward claimed was a “non-speculative,” non-

tradeable utility token.

      44.      Ward further represented “one AFT equals one U.S. dollar, and that is

the way that it stays,” and that Apex’s use of AFT “takes the volatility out of the

equation” so “you’re not going to have to worry about that fluctuation in your

value.”

      45.      AFT, however, never existed and nothing about the fictitious token was

pegged to the dollar.

      46.      One of Ward’s Apex partners told Ward to stop referencing AFT after

learning that Ward had used it in marketing Apex.

      47.      Ward also touted his own reputation, credibility, and integrity to

potential investors, assuring them, “anyone who knows me, knows that I’m not

gonna put my face in front of something, I’m not gonna . . . be part of anything that,

number one, could potentially get me in trouble, and number two, is not real. I’m

just not going to do it. It’s not worth it.”


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      48.    Ward failed to disclose, however, that he had participated in a

fraudulent Ponzi scheme in 2017 or that, in 2018, he directed a colleague to destroy

evidence in response to a subpoena from the FTC related to that scheme.

      49.    In 2022, after Apex had ceased operations, Ward admitted in a CFTC

order that he, along with accomplices, operated this Ponzi scheme and that he

directed an accomplice to destroy evidence in response to a subpoena from the FTC.

                       Apex Loses Money and Closes Down

      50.    Apex initially placed investor money with two outside funds, one that

engaged in commodity trading and another that engaged in high-frequency, crypto-

asset trading.

      51.    Apex’s investment in the commodity trading fund incurred losses of

80%; the investment in the high-frequency crypto-asset trading was never deployed

by that fund because it was in the process of restructuring.

      52.    In September 2021, Ward told his two partners that he was under

investigation by the CFTC because he was involved in something that might be a

Ponzi scheme and that “it was bad.”

      53.    As a result of Ward’s revelation, along with the investment losses and

other operational issues, Ward’s two partners decided to shut down Apex.

      54.    Because some of Apex’s largest investors were friends, business

partners, and neighbors of Ward’s two partners, the two partners decided to use their


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own assets in an effort to make Apex investors whole.

      55.    Ward did not contribute any of the money used to repay investors.

      56.    The repayment process began around September 2021 and continued

until around April 2022.

                                 COUNT I—FRAUD

                  Violations of Section 17(a)(1) of the Securities Act
                                [15 U.S.C. § 77q(a)(1)]

      57.    Paragraphs 1 through 56 are hereby realleged and incorporated herein by

reference.

      58.    Between at least March and September 2021, Defendant, in the offer

and sale of the securities described herein, by the use of means and instruments of

transportation and communication in interstate commerce and by use of the mails,

directly and indirectly, employed devices, schemes and artifices to defraud purchasers

of such securities, all as more particularly described above.

      59.    Defendant knowingly, intentionally, and/or recklessly engaged in the

aforementioned devices, schemes, and artifices to defraud.

      60.    By reason of the foregoing, Defendant, directly and indirectly, has

violated and, unless enjoined, will continue to violate Section 17(a)(1) of the

Securities Act [15 U.S.C. § 77q(a)(1)].




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                                COUNT II—FRAUD

                  Violations of Section 17(a)(3) of the Securities Act
                                [15 U.S.C. § 77q(a)(3)]

      61.    Paragraphs 1 through 56 are hereby realleged and incorporated herein by

reference.

      62.    Between at least March and September 2021, Defendant, acting

knowingly, recklessly, or negligently in the offer and sale of the securities described

herein, by use of means and instruments of transportation and communication in

interstate commerce and by use of the mails, directly and indirectly, engaged in

transactions, practices and courses of business which would and did operate as a fraud

and deceit upon the purchasers of such securities, all as more particularly described

above.

      63.    By reason of the foregoing, Defendant, directly and indirectly, violated

and, unless enjoined, will continue to violate Section 17(a)(3) of the Securities Act [15

U.S.C. § 77q(a)(3)].

                                COUNT III – FRAUD

              Violations of Section 10(b) of the Exchange Act and
               Sections (a), (b), and (c) of Rule 10b-5 thereunder
         [15 U.S.C. § 78j(b) and 17 C.F.R. §§ 240.10b-5(a), (b), and (c)]

      64.    Paragraphs 1 through 56 are hereby re-alleged and are incorporated

herein by reference.



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       65.    Between at least March and September 2021, Defendant, in connection

with the purchase and sale of securities described herein, by the use of the means and

instrumentalities of interstate commerce and by use of the mails, directly and

indirectly:

              a.    employed devices, schemes, and artifices to defraud;

              b.    made untrue statements of material fact and omitted to state

       material facts necessary in order to make the statements made, in light of the

       circumstances under which they were made, not misleading; and

              c.    engaged in acts, practices, and courses of business which would

       and did operate as a fraud and deceit upon the purchasers of such securities,

       all as more particularly described above.

       66.    Defendant knowingly, intentionally, and/or recklessly engaged in the

aforementioned devices, schemes and artifices to defraud, made untrue statements of

material facts and omitted to state material facts, and engaged in fraudulent acts,

practices and courses of business.

       67.    By reason of the foregoing, Defendant, directly and indirectly, has

violated and, unless enjoined, will continue to violate Section 10(b) of the Exchange

Act [15 U.S.C. § 78j(b)] and Sections (a), (b), and (c) of Rule 10b-5 thereunder [17

C.F.R. §§ 240.10b-5(a), (b), and (c)].




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                             PRAYER FOR RELIEF

      WHEREFORE, the Commission respectfully prays for:

                                          I.

      Findings of fact and conclusions of law pursuant to Rule 52 of the Federal

Rules of Civil Procedure, finding that Defendant committed the violations

alleged;

                                          II.

      An order permanently restraining and enjoining Defendant, his officers,

agents, servants, employees, and attorneys from violating, directly or indirectly,

Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder

[17 C.F.R. § 240.10b-5], and Sections 17(a)(1) and 17(a)(3) of the Securities Act

[15 U.S.C. §§ 77q(a)(1), (a)(3)], by engaging in the type of conduct alleged in the

complaint;

                                        III.

      An order, pursuant to Section 21(d)(5) of the Exchange Act [15 U.S.C.

§ 78u(d)(5)], permanently enjoining Ward from directly or indirectly, including, but

not limited to, through any entity owned or controlled by Ward, participating in the

issuance, purchase, offer, or sale of any security; provided, however, that such

injunction shall not prevent him from purchasing or selling securities listed on a

national securities exchange for his own personal accounts;

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                                          IV.

       An order, pursuant to Sections 21(d)(2) and (d)(5) of the Exchange Act [15

U.S.C. §§ 78u(d)(1), (5)] permanently barring Defendant from acting as an officer

or director of an issuer that has a class of securities registered pursuant to Section 12

of the Exchange Act [15 U.S.C. § 78l], or that is required to file reports pursuant to

Section 15(d) of the Exchange Act [15 U.S.C. § 78o];

                                           V.

       An order pursuant to Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)]

and Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] imposing civil penalties

against Defendant; and

                                          VI.

       Such other and further relief as this Court may deem just, equitable, and

appropriate in connection with the enforcement of the federal securities laws and for

the protection of investors.

                               JURY TRIAL DEMAND

       The Commission hereby demands a trial by jury as to all issues that may be

so tried.




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 This 10th day of September, 2024.


                         Respectfully submitted,

                         /s/Pat Huddleston II
                         Pat Huddleston II
                         Senior Trial Counsel
                         Georgia Bar No. 373984
                         huddlestonp@sec.gov

                         M. Graham Loomis
                         Regional Trial Counsel
                         Georgia Bar No. 457868
                         loomism@sec.gov

                         Attorneys for Plaintiff
                         Securities and Exchange Commission
                         950 East Paces Ferry Road, NE, Suite 900
                         Atlanta, GA 30326
                         Tel: (404) 842-7600
                         Facsimile: 4048427679@fax.sec.gov




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